Hospice Volunteer Training

Want to Help Those in Need

Apply to be a Volunteer with the Hospice Program at FMC Carswell. The Hospice Program provides care
and support to terminal patients with the help of inmate volunteers. Help make a difference by
volunteering your time and support. If you would like more information, please submit an electronic
cop-out to Ms. Little in the Social Work Department.

How to Apply

If you would like to be a member of the hospice team, obtain an application from the Social Work
Department and submit it by October 30, 2023.

Rules and Requirements

Volunteers must have a year of clear conduct, at least a year remaining at FMC Carswell and be willing
to complete the 30-hour mandatory training.

* Volunteer training will be held Fall of 2023

Federal Medical Center Carswell. —
Hospice and Palliative Care Program
Volunteer Application —

a Please answer every question below. You must print clearly as your application will not be considered jf illegible.
_|-NAME REG. NO. PROJECTED RELEASE DATE
WORK DETAIL SUPERVISOR NAME | OFFENSE
HOW LONG HAVE YOU BEEN INCARCERATED? | LENGTH AT CARSWELL? ARE YOU NOW OR PLAN TO BE A SUICIDE WATCH CAMPANION?
OQ yes O no

| HIGHEST LEVEL OF EDUCATION (CHECK ONE)

© COLLEGE © HIGH SCHOOL © GED © CURRENTLY ENROLLED IN GED © NONE

DATE CODE OFFENSE

DO YOU HAVE ANY SIGNIFICANT MEDICAL OR MENTAL HEALTH CONDITIONS (IF YES, EXPLAIN BELOW)
© ves OQ no

HOW WOULD YOU DESCRIBE YOUR PERSONALITY?

HOW DO YOU THINK YOUR WORK SUPERVISOR WOULD DESCRIBE YOU?

WHEN FEELING STRESSED OR OVERWHELMED, HOW DO YOU COPE?

(over)

FROM: Legal, Lisa
TO: 46263509 -
SUBJECT: NPR Newsflash! BOP Healthcare Driven by 'Delay and Ignore’ LISA Newsletter for September:25, 2023 ,
DATE: 09/25/2023 08:40:31 AM

Bom oon %

LISA publishes a free newsletter sent every Monday to inmate subscribers in the Federal system.
Edited by Thomas L. Root, MA, JD

Vol. 9, No. 39

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NPR Blasts Substandard BOP Healthcare

6TH Circuit Refuses En Banc On Stacked 924(C) Sentences
Preview of Coming Events

$117 A Day Won't Buy You Performance

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NPR BLASTS SUBSTANDARD BOP HEALTHCARE

fin a report that won't shock a single Bureau of Prisons inmate, NPR reported this past weekénd that the BOP has
: misrepresented the accreditation of its healthcare facilities while compiling a record of ignoring or delaying medical treatment
Xespecially in cancer care leading to needless inmate disability and death.

iNPR said it had obtained hundreds of BOP recards that showed, among other things, that over 25% of the almost 5,000.-
‘inmates who died in federal custody from 2009 to 2020 died in a single place: FCC Butner. According to NPR's analysis, more
( PoP prisoners died of cancer than any other cause from 2009 to 2020. °

More deaths at Butner are to be expected, given the complex includes FMC Butner, the system's largest cancer treatment
facility. However, NPR reported, it found .

"numerous accounts of inmates nationwide going without needed medical care. More than a dozen_waited.months-or-even...
years-for-treatment;-including-inmates with obviously concerning symptoms:.unexplained-bleeding,.. Suspicious lump, intense
pain. Many suffered serious consequences: Some“did fot survive: Too often, sources told NPR, federal prisons fail to treat
serious illnesses fast enough. When an ailment like cancer is caught, the BOP often funnels these sick inmates to a. place like
Butner, where it is assumed they'll receive more specialized treatment. But by the time prisoners access.more advanced care,
it's sometimes too late to do much more than palliative care. What's more, current and former inmates and staff at Butner told

NPR the prison has issues of its own, including delays in care and staffing shortages."

NPR caught the BOP in.a falsehood. The agency says on its website that "Federal Medical Centers (FMCs) are accredited by

the Joint Commission," thé nation's leading*healthare-accreditation agency. But NPR found that was untrue. BOP's certification
lapsed two years ago.

Sources NPR interviewed said federal inmates are dying more often than they should. "Deaths in custody should be rare
events, given that this is such a controlled environment," says Michele Deitch, director of the University of Texas at Austin's
Prison and Jail Innovation Lab. "Are there preventable deaths happening in the BOP? The answer to that is clearly yes."

NPR quoted an anonymous BOP medical staff member at Butner who said she has heard stories like theirs "so many times So
many inmates have told me, 'l complained about this lump, or | complained about this pain for so long, and they only gave me
cream, they only gave me Motrin, they never sent me out for tests or anything. Now they send me here and | have Stage 3 or
Stage 4 cancer. Our question is always: What took them so long to get to us, and why did they send them to us when there's
nothing that we can do?"

Art Beeler, a former Butner warden, told NPR.jit was hard to see inmates arrive at the FMC with late-stage cancer. "There were
cases we received late, and every one of them was frustrating,” Beeler said. "If we received someone who had Stage 4 prostate
cancer, who showed indicators early on in the process, we were very frustrated... We knew more than likely the patient would
live if they had received treatment early on.”
In March 2022, the Dept of ‘jlisticeInspector General audit of the BOP's contract with a medical service contractor at Butner.
found the BOP "did not have a reliable, consistent process in place to evaluate timeliness or quality of inmate healthcare."

The IG report also noted “challenges in transporting inmates to off-site appointments which resulted in a frequent need to
reschedule appointments that could delay an inmate's healthcare." The contractor told the Inspector General that their staff
spent a "significant amount of time" canceling and rescheduling inmate appointments."

"We believe it is difficult for the BOP to determine whether inmates are receiving care within the required community standard,”
the report noted.

Delshon Harding, president of the union local representing Butner officers, told NPR he believes staff shortages are the primary
reason inmates go without essential care.

A report issued last week by three federal agencies includingDOJ found that as of March 2022, 89% of ail BOP facilities had
one or more clinical position vacancies. Thirteen prisons lacked any staff medical officer. Only 69% of BOP medical officer
positions were filled.

NPR, 1 in-4 inmate deaths happens in the same federal prison. Why? (Sep 23)

BOP, Medical Care (last visited Sep 23)

Dept of Justice, Audit of the Federal Bureau of Prisons Comprehensive Medical Services Contracts Awarded to the University of
Massachusetts Medical School (Mar 2022)

Veterans Administration, Review of Personnel Shortages in Federal Health Care

Programs During the COVID-19 Pandemic (Sep 21)
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6TH CIRCUIT REFUSES EN BANC ON STACKED 924(C) SENTENCES
Pavlo complains that perhaps thousands of other prisoners ‘who were sentenced ana nave montns o1 une Warsn yeuny w
their final designated facility are currently not getting those credits." Pavlo notes that “prisoners who have a disagreement with
the BOP have access to an administrative remedy process to air their grievances. However, those in the chain of command at
the BOP who wouid review those grievances have no authority within the BOP to award these credits as it deviates from the
BOP's own Program Statement, which remains unchanged... Currently, the only solution is for every prisoner who has this.
situation is to exhaust the administrative remedy process, something that could take 6-9 months, and go to court to find a judge
who agrees with [Patel v Barron] " .

Not necessarily.. A Hawaii court in Huihui v Derr Court excused exhaustion because "further pursuit would be a futile gesture
because there is an error in [the BOPs] understanding of when Petitioner can begin earning credits under 18 USC 3632(d)(4)
(B) and 3632(a) [Ajny further administrative review would not preclude the need for judicial review."

Forbes, Bureau of Prisons’ Dilemma On First Step Act Credits (Oct 27)
Patel v Barron, Case No C23-937, 2023 USDist LEXIS 174601 (WD Wash. Sept 28, 2023)
Huihui v Derr, Case No 22-00541, 2023 USDist LEXIS 106532 (D Hawaii, June 20, 2023)

Yufenyuy v Warden FCI Berlin, No. 22-CV-443, 2023 USDist LEXIS 40186 (D NH, Mar 7, 2023)
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A woman whose federal sentence last April came with a promise by a BOP medical official that he'd personally see that she
would receive the care she needed to treat her life-threatening seizure condition was back in court was back in court after only
eight weeks in FMC Carswell, due to her attorney's concern that "the BOP has proven unable to manage or prevent these life-
threatening episodes."

Sarah Kersey suffers from severe, stress-induced seizures. She went into cardiac arrest on the floor of the courtroom last year
when she was convicted. When she was sentenced, her lawyer warned that sending her to prison could kill her.

At sentencing, the Court found that there was "no doubt" inat Sarah "does suffer from a serious health condition, in fact perhaps
a number of health conditions," that she was "medically frail," and that "she will require much medical care." But despite her
undisputed seizure disorder and other medical ailments, the Court relied on testimony from the FMC Carswell Medical Director .
that the BOP could "provide Ms. Kersey with whatever medical care she needs."

Sarah self-surrendered in mid- -July. Only two months later, her attorney told the court that Sarah "has required emergency
outside hospitalization on at least two separate occasions. Specifically, counsel has been advised that Mrs. Kersey has suffered
ongoing, repeated seizures including two major episodes with the latest episode involving cardiac arrest. (It has also resulted in
blood clots that are now not being monitored) " The BOP's "repeated failure is contrary to the picture painted by the government
at sentencing. Counsel has also been advised fellow inmates have been forced to attempt life-saving care during these
seizures because prison officials failed to do so."

BOP medical official Mark Holbrook told the judge in April that the BOP could care for Sarah. But five months later, her heart
and lungs briefly stopped working on the floor of a friend's cell. Inmates screamed at the guards to call for help. "Granny's eyes
were wide open, but you could see that the light was no longer there," wrote one of two incarcerated women who performed
CPR on Sarah until medics arrived. "She was gone."

"That was my mistake,” Dr. Holbrook admitted to the judge at last month's hearing.

"He made several promises and several assurances. It appears none of which occurred," Sarah's attorney told the judge, the
Palm Beach Post reported, "Letters from half a dozen inmates and the testimony of Carswell's own medical director depict a

standard of care unlike the one Holbrook promised. One where Kersey must depend on her fellow inmates to keep her heart
beating, and doubts over the legitimacy of her seizures dampen what care she does receive."

Maitee Serrano-Mercado, FMC Carswell's clinical director, testified that she was never contacted by Holbrook and. prison staff
only belatedly- leagnedsthat Sarah had a history of seizures.

The Post noted that Carswell, dubbed by the Fort Worth Weekly in 2005 as a "hospital of horrors," is "the only federal medical
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arah told the Post in an email that the treatment of women at Carswell was “nothing short of torture People come in here
alking and leave in wheelchairs. People die here," she wrote. "I don't want to be one of them.”

alm Beach Post, 'Inexcusable': Attorney blasts federal prison officials over Boca woman's medical care (Oct 27)

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or privacy, we use pseudonyms for people who are still incarcerated.

aur family may read our newsletter online at www.lisa-legalinfo.com. If you want to receive the newsletter, send a Corrlinks
vitation to newsletter@lisa-legalinfo.com.

you have a question, please send a new email to newsletter@lisa-legalinfo.com.
veh pts aA s
She surréridered i her nursing license and lost custody of her children.

"! think it would: have been OK if she had not been incarcerated and had simply surrendered her nursing license," Steve Rider
said. “The. pérgon wasn't harmed. They just missed a dose of the painkiller.

Rider's aftorney argued at the sentencing hearing that his client should be sentenced to 13 months: a lifetime for a mother of
young kids, but a fair punishment for what she'd done, he said. :

instead, Hillman sentenced Rider to three years in prison and recommended she participate in psychological care.

"Ms. Rider, | know this is not a good day, and nobody here takes any pleasure in what's going on,” Hillman said. "| can only wigh .,
you the best, and hopefully this is.a beginning; and it sounds like you've got a good start on it, so good luck."

ALLEGATIONS OF ABUSE

Gwen Rider was initially incarcerated on the East Coast near her family. But when she was diagnosed with epilepsy, tie Bureau
of Prisons sént her to Carswell.

At Carswell, Gwen Rider was able to see a psychologist at the facility that she spoke very highly of, Steve Rider said. shé was
working through further trauma from her time at a prison in Rhode Island, where Steve Rider said she was physically abused by
a staff member.

Butamedicalprofessional at the facility "was very abusive to Gwen,*-he'said.

"The doctor kept insisting her seizures were fake even though she had a work-up and it showed it," Steve Rider said. “There.
are people who feel that this doctor drove Gwen to suicide."

Steve Rider said he isn't sure if he can endorse that idea. "Each person is responsible for what they do," he said. But he” F
remembers many conversations about the woman treating his daughter's epilepsy and said she was "clearly. incompetent.”. "

Carswell has a history of alleged medical néglect. In 2020, 70 women at the prison filed a lawsuit, alleging abusive treatment
during COVID lockdown. In October 2020, Cynthia Baxter died two weeks after being released from Carswell. Baxter had *”
cancer and did not receive needed treatment from the prison, people incarcerated at the facility said. :

In April 2021, 62-year-old Martha Evanoff died after begging for medical attention for months and being denied help, womensat
the prison said. In June 2021, 54-year-old Sherri Hillman, who was still awaiting a sentencing hearing, died at Carswell after -
being transferred there to receive medical care; one woman said she screamed for help for days but staff ignored her.

NOT P PLACED ON SUICIDE WATCH

(Eive women. incarcerated at the prison with Gwen Rider said she had attempted to die by suicide several times but was not on .
suicide watch at the time of her death.

Accordirig to thé BOP's suicide prevention policy, a person who is suicidal will receive appropriate preventive supervision and:
other treatment. If a person is suicidal, they should be placed on suicide watch and only removed when they are no longer at..
imminent risk for suicide. :

But women at the prison say staff did not follow those procedures.

Staff and some of the women incarcerated at the facility picked on Gwen Rider because of hers seizures and because she
grinded her teeth at night, said Faith Blake, who was in the same unit as Gwen Rider.

Alicia Elliot, who is incarcerated at Carswell; said Gwen Rider was placed in suicide watch for a few days and then released’ into
general population. Merrideth Horton, who was incarcerated at Carswell until January, said it was common for people who

5 needed mental health attention to not receive the help they needed.
According 4 to Sharinon Richardson, who is also incarcerated at Carswell, Gwen Rider told a lieutenant that when she got. off’

. suicide watch, “that one way or the other she was going to succeed." i!
Richardson Sad ick should have prompted staff to keep Gwen Rider on the mental health unit.

~ "Instead she was thrown right back into (general population) with hundreds of women and no close supervision," Richatisa
said. :

The Bureau of Prisons did not answer the Star-Telegram's questions about why Gwen Rider was released back into general :

. population and if the program coordinator first performed a face-to-face evaluation, which is required under the BOP's 's suicide
prevention policy. . “ .
"| don't want her to be only (remembered for) that she ended her own life," Blake said. "Her kids have to know that they. were
big time loved. ns

‘| WAS VERY PROUD OF HER’

Gwen Rider called her dad and son nearly every day while in prison, Steve Rider said, and he had "never known another who
loved her children more than her it was exceptional. ‘ me

"| was velyproud of her and very proud to call her my daughter,” he said.
Steve Ridet, %, and his husband are adopting Gwen Rider's children. He has now lost two children to suicide.
Research Shows that incarceration worsens existing mental health conditions. In state and federal prisons, a total of 4, 500 °

people died by suicide from 2001 to 2019., according to a U.S. Bureau of Justice Statistics report in 2021. The number of
suicides’ increased 83% over that period.

i

"I'm lookinig forward to putting all this behind me," Steve Rider said. "| am very good at forgetting bad things."
FROM: Trujilo Solano, Jesus | - .S
TO: 37899509 ‘ :
SUBJECT: Noticia

DATE: 09/11/2023 01:21:02 AM

° Gwen Rider was known to show off pictures of her two kids to anyone who would listen at the federal prison she was
incarcerated at in Fort Worth. -

She loved to brag about her 11-year-old son and his computer programming skills and her 14-year-old daughter, with her big “
blue eyes. :

Her children were the main focus of the speech Rider gave before the judge during her sentencing hearing in January.

They remain my greatest pride and joy," the 44-year-old told Judge Timothy Hillman in a Massachusetts courtroom. "And | hope
to be reunited with them as soon as possible!"

in the sentencing hearing, Rider and her attorney talked about her struggles with PTSD, autism and substance use. Hillman

said during the hearing that Rider's case "might be the saddest story | think I've ever heard." He sentenced her to three years in
prisoni. °

In 2022, Rider was diagnosed with epilepsy. To receive appropriate treatment, the Bureau of Prisons transferred her in March
2023 to FMC Carswell, the only federal medical facility for incarcerated women in the country.

Five months later on Aug. 3, Rider died by suicide at FMC Carswell.

While the Bureau of Prisons sent Rider to Carswell specifically for medical treatment, women incarcerated at the prison say she
did not receive the psychological or medical treatment she needed. ,

Her father, Steve Rider, said a doctor at the facility told her that her epileptic seizures were not real.

"if she had been given proper medical care-and there had not been this argument about epilepsy and the fact that she needed
to be protected. from it, probably she would be still alive," Steve Rider said.

SENTENCED TO PRISON AFTER SUICIDE ATTEMPT

Gwen Rider was an very intelligent child with an excellent memory, her father said. She dealt with mental health issues -
throughout her life, he said. She had trauma and PTSD after being molested in a Catholic school, and she was the’one who
found her brother's body when he died by suicide. oe,

|
Still, she had a soft heart. She was extremely empathetic and befriended everyone, Steve Rider said. She once saw a dog
running around on’a busy street and she immediately pulled over, rescued the dog and adopted it as her own. :

: * + 4
She studied -té6 become a nurse and developed "an encyclopedic knowledge of medicine,” her father said.

In 2020, Rider worked at a nursing home in|Massachusetts. On Nov. 6, 2020, she was overseeing a unit specializing in care for
residents with dementia: It was the height of the COVID-19 pandemic, and Rider was having legal issues with her son's school,
according to court records from her sentencing hearing. |

: | :
Nov. 6 also happened to be the anniversary of her brother's suicide, whose death'she had always felt somewhat responsible
for, according to her father. : | so

As she cared for a patient who was nonverbal and received morphine for pain, Rider removed about 70% of the morphine from
the bottle and replaced it with water. ° to

She planned to use the morphine to die by suicide.

Rider did not go through with her plan; she said during her sentencing hearing she worried what would happen to her son.
When another nurse noticed the missing morphine, Rider was charged with tampering with a.consumer product and obtaining @
controlled substance by fraud and deception. . .
w oe Sores rt mse ce er ene pre ree mee ewmenne nee eran renner ee pre rr wiwow uliwe
threatening-episodes."

Sarah Kersey suffers from severe, stress-induced seizures. She went into cardiac arrest on the floor of the courtroom last year
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outside hospitalization on at least two separate occasions. Specifically, counsel has been advised that Mrs. Kersey has suffered
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Palm Beach Post, 'Inexcusable': Attorney blasts federal prison officials over Boca woman's medical care (Oct 27)

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For privacy, we use pseudonyms for people who are still incarcerated.

Your family may read our newsletter online at www.lisa-legalinfo.com. If you want to receive the newsletter, send a Corrlinks
invitation to newsletter@lisa-legalinfo.com.

If you have a question, please send a new email to newsletter@lisa-legalinfo.com.

!

yy AL RE OFF REER QU LERTEDISOMUEE

7 Tuesday, March 21, 2023

Sharmistha Barai - #76033-097
P.O. Box 27137
Fort Worth, TX 76127

Regarding: Bureau of Prisons - FMC Carswell
incident #04161QZJ-34285]OH

We are writing in response to the concerns you shared with The Joint Commission.

We have reviewed our records and determined that the organization listed above is not currently accredited by The Joint
Commission. Therefore, we have no authority to evaluate the information you reported.

’ Thank you for bringing your concerns to our attention. We encourage you to contact the organization directly for resolution. You
may also want to contact the State Department of Health to see if they can address your concern(s).:

Sincerely,

Office of Quality and Patient Safery

Headquarters

One Renaissance Boulevard
Oakbrook Terrace, IL 60181
630 792 5000 Voice
FROM: Gilna, Derek TRE ®
TO: 31341047 - sO
SUBJECT: Federal Legal News 8-28-23

DATE: 08/28/2023 01:51:13 PM

United States Sentericing Commission (USSC) Approves Retroactivity; Don't Fall for The Bureau's Newest Second Chance Act.
(SCA) Scam; Bureau Continues Misinformation Campaign on Second Chance Act and FSA Credits For Non-Citizens;
Favorable Court Decision On Drug-Quantity Sentencing Presumptions; As Federal Prison Facilities Deteriorate, Will Congress
take Action on Decaying Federal Prisons? :

By Derek Gilna, Director of: Research

This past week the USSC voted to approve retroactivity on all of the recent, positive Guidelines changes, opening the
door to a sentencing court's reconsideration -and reduction- of a previously imposed sentence: "The Commission, by a majority
vote, allowed for retroactive application of Amendment 821 relating to criminal history meaning that certain currently
incarcerated individuals could be eligible for reduced sentences made effective beginning on February 1, 2024. The
Commission also adopted its next set of policy priorities that include, among other things, reviewing and potentially amending
how the guidelines treat acquitted. conduct for purposes of sentencing as well as assessing the degree to which certain Bureau
of Prisons practices are effective in meeting the purposes of sentencing."

Let that second sentence sink in. In plain English, immense pressure from Congress, advocates, and prisoners’
families, not to mention numerous Inspector General Reports detailing Bureau incompetence and malfeasance, means that the
era of Bureau denial,.disinformation, and deception may soon draw to a close. Judges will be obligated to carefully consider
well-made arguments about deficient prisoner operations, especially those affecting health and safety, in post-conviction
motions for sentence relief. -

The Commission continued: "Equipped with a quorum of commissioners the Commission voted in April to promulgate.
amendments to the federal sentencing guidelines including Amendment 821 providing for targeted, evidence-based changes
to certain criminal history rules. Because two parts of that amendment reduce the séntencing range of future defendants, the
Commission is required by law to consider whether judges can extend those reductions.to previously sentenced individuals "

As a result of this action, Part.A of Amendment 821 now limits the overall criminal history impact of "Status Points" at
§4A1.1. Part B, Subpart 1 of Amendment 821 creates a new Chapter Four guideline at §4C1.1 decreasing by two the offense
levels for defendants who did not receive any criminal history points and whose instant offense did not involve specific
aggravating factors. "These prospective changes to the criminal history rules made by the Commission in April reflect evidence-
based policy determinations that apply with equal force to previously sentenced individuals. Applying these changes
retroactively will increase fairness in sentencing. At the same time, the 3-month delay will help ensure that individuals released
based on our decision today receive the benefit of reentry programs:and transitional services essential to support their“
successful reentry to society, which at the same time promotes public safety." We can assist with this process.

Commission statistics project that, "11,495 incarcerated individuals will have a lower sentencing range under.Part A of
Amendment 821 relating to "Status Points" with a possiblé sentence reduction of 11.7%, on average, and 7,272 incarcerated
individuals would be eligible for a lower sentencing range based upon the established criteria under Part B of Amendment 821
relating to 'Zero-Point Offenders' with a possible sentence reduction of 17.6%, on average."

We can assist with this process also.

Now to NEXT year's new USSC priorities, which are even more helpful in gaining sentence relief: " the Commission will
work to assess the degree to which certain practices of the Bureau of Prisons are effective in meeting the purposes of
sentencing as set forth in 18 U.S.C. § 3553(a)(2). (It)will also compile and disseminate information on court-sponsored
programs relating to diversion, alternatives-to-incarceration, and reentry.

"The Commission will also review and potentially amend how-the guidelines treat.acquitted conduct for purposes of sentencing.
The Supreme Court recently denied several petitions for writs of certiorari related to the use of acquitted conduct. In issuing the
denials, three Justices supported the denial to allow the Commission more time to address the issue. Last year's amendment
cycle was busy and abbreviated. The Commission appreciates the opportunity to give proper attention to acquitted conduct,
and we will do so this year," said USSC Chairman and federal judge Reeves.

"The Commission will continue to examine the career offender guidelines, including updating the data analyses and statutory
recommendations made in the Commission's 2016 report to Congress entitled Career Offender Sentencing Enhancements.
The Commission will also continue its consideration of alternative approaches to the 'categorical approach: through workshops
convened to discuss the scope and impact of the career offender penalty enhancements. (It) will further continue its research
agenda through examination of various issues, including methamphetamine offenses, sentencing differences for cases
disposed of through trial versus plea,.and sentences involving youthful individuals." The impact of these new changes is
staggering, and promise a seismic change in sentencing practices and greatly increase the chances of success for post-
conviction petitions. —

There is still a lot of inconsistency as to how individual facilities are dealing with the Second Chance Act (SCA), FSA credits,
a

and-RDAP sentence credits, which will require you to know certaiz.facts.+ All of these credits CAN be combined. Although FSA
credits are more easily calculated, SCA and RDAP are a bit more complicated. SCA applies to everyone, but what doesn't apply
to everyone is how much you get, as the statute says "up to" a year, which provides the Bureau some wiggle room. However,

if you are not getting around 6 months, start asking questions and sending memos. SCA is NOT optional; everyone gets it, and
its denial is a clear abuse of discretion. There has also been a new memo issued that prevents the elimination of SCA, RDAP,
or FSA credits on the basis of a detainer, immigration or otherwise.

From one institution: “last month when there was memorandum issued to the general population about how non-citizens too
can be placed for RRC/HC as long as they don't have a final deportation order, the prison administration here in FCC Yazoo
City Low 2 started to send detainer action letters for every immigrant whose names came up:in rosters fora placementin —
RRC/HC, but this time a modified version of detainer action letter and included at the bottom about our eligibility for placement
to RRC/HC under FSA."

From another: "ICE Agents showed up at FCI Loretto and told 22 inmates to sign "a final order" of deportation. This scheme i is
spreading. Many did not sign at the encouragement of a few. The Agents are saying they have the authority to do this, they do
not, but how is the BOP condoning this activity?”

(Note: Prisoner "waivers" not executed in front of an immigration judge are not valid.)

Immigrants are also targeted by the Bureau's "Final Order" of deportation scheme. Even as the agency has recognized the
illegality of their previous unlawful policy of denying FSA credits to those with detainers (which is not in the FSA), it has
persisted in attempting to take advantage of prisoners with little access to legal assistance by engaging in a broad conspiracy
with some ICE offices to obtain letters purporting to be "Final Orders." This is nonsense. File your remedies, and if you would
be released or would be close to the door with the proper application of the disallowed FSA credits, we can assist with an
emergency 2241.

In an interesting decision directly impacting physician prosecutions, a Third Circuit panel decision shows how factually-suspect
the method used by federal prosecutors. to prove up drug quantities in the sentencing of a doctor really is. In US v. Titus, No. 22
-1516 (3d Cir. Aug 22, 2023):

"Though the prosecution bears a heavy burden of proof, we will not let it cut corners. Dr. Patrick Titus wrote thousands of
prescriptions for controlled substances. The government properly proved that many: of these prescriptions were unlawful, so we
will affirm Titus's conviction. But many other prescriptions were lawful. And the severity of Titus's sentence depended on how
many were not. Rather than review every patient's file, the government urged the court to extrapolate from a small sample. Yet
the government failed to show that doing so would satisfy its burden to prove the drug quantity by a preponderance of the
evidence. Because the court sentenced Titus without enough proof, we will vacate his sentence and remand for resentencing.”
Congress will have to take action based upon the fact that the facilities of the federal prison system are functionally obsolete,
unsafe, unhealthy, and violative of environmental guidelines that the feds force the rest of the country to follow. From Thomson,
officials took drastic action in an attempt to curtail a-prisoner hunger strike, based upon a laundry list of prisoner complaints.
Every prison has defective facilities, not to mention malfunctioning medical equipment, which claimed the life of a Carswell
prisoner this past month, due tos sepsis from a broken dialysis machine. The proposals issued by the USSC for next year's
action will bring all of this into sharper focus, and provide the basis for court petitions seeking release based upon unsafe
conditions.

if you haven't already done so, make sure your loved ones subscribe to the newsletter to protect your access to this source of
information. The Bureau loves to cénsor this and other newsletters.

Be not afraid and let not your heart be troubled.

Derek Gilna, Director of Research, JD, (De Paul Law School, 1975), MARJ, (Master of Restorative Justice), (Vermont Law
School, 2020), Federal Legal Center, 133 W. Market, #171, Indianapolis, IN 46204; dgilna1948@yahoo.com (English newsletter
and ALL inquiries, English or Spanish); federallc_esp@yahoo.com, Spanish newsletter, but NO inquiries. (This Newsletter is for
Information Only and Does Not Constitute Legal Advice.)
CRWHB 606.00 * . FEMALE CUSTODY CLASSIFICATION FORM * 10-25-2023

PAGE 001 OF 001 | 14:30:02

(A) IDENTIFYING DATA .
REG NO..: FORM DATE: 01-08-2023 ORG: CRW
NAME....: SANTANA-CERANO, MARIBEL

MGTV: MED/PSY

PUB SFTY: NONE MVED: N/A
(B) BASE SCORING
DETAINER: (0) NONE SEVERITY.......: (3) MODERATE
MOS REL.: 92 . «CRIM HIST SCORE: (00) O POINTS
ESCAPES.: (0) NONE VIOLENCE.......: (0) NONE
VOL SURR: (0) N/A AGE .CATEGORY...: (2) 36 THROUGH 54

EDUC LEV: (2) NO VERFD HS/ NO GED DRUG/ALC ABUSE.: (0) NEVER/>5 YEARS
(Cc) CUSTODY SCORING

TIME SERVED.....: (3) 0-25% PROG PARTICIPAT: (1) AVERAGE
LIVING SKILLS...: (2) GOOD TYPE DISCIP RPT: (5) NONE
FREQ DISCIP RPT.: (3) NONE FAMILY/COMMUN..: (4) GOOD

-~- LEVEL AND CUSTODY SUMMARY --~
BASE CUST VARIANCE SEC TOTAL SCORED LEV MGMT SEC LEVEL cusTODY, CONSIDER
+7 +18 -2 +5 MINIMUM N/A ce | DECREASE
Ny

GO005 TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED
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f
ye

TRULINCS 99877479 - SANTANA-CERANO, MARIBEL - Unit: CRW-H-N

FROM: 99877479

TO: Health Services Admin °

' SUBJECT: ***Request to Staff*** SANTANA-CERANO, MARIBEL, Reg# 99877479, CRW-F-A
DATE: 05/18/2023 12:31:12 PM

~ To: GAMEZ
~ Inmate Work Assignment. nic

MS GAMES | BEEN MOVING TO ONE NOTRTH TODAY: AND LDONT UNDERSTAND WHY BECAUSE | HAVE A OPEN
WOUND INFECTED AND WAITING TO-HAVE SURGERY AGAIN THIS IS EXACTLY WHAT HAPPEND THE FIRST TIME! ~~
CAME TO CARSWELL THEY PUT ME IN ONE NORTH AND END UP LIKE THIS IAM REALLOY SCARE TO GET.WORDS
AGAIN LIKE THE FIRST TIME.AND HOW | SUPOST TO CLEAND MY WOUND THERE IN PUBLIC POPULATION RESTROM
WITH NO SANATATION

a een ce ie ger»
e 5 &
%

TRULINCS 99877479 - SANTANA-CERANO, MARIBEL - Unit: CRW-H:N

FROM: 99877479 ao
TO: AW Medical -
SUBJECT: ***Request to Staff*** SANTANA-CERANO, MARIBEL, Reg# 99877479, CRW-H- N of

DATE:.06/07/2023 04: 43:24 PM .

To: GAMEZ
- Inmate Work Assignment: NC

MRS GAMEZ.| WAS TOLD BY YOU THE DAY | WENT LOOK FOR HELP.FOR MY WOUND TO NCC. THAT: THIS PAST x
MONDAY DOCTOR FROM OUTSIDE. WERE COMING AND YOU PUT A NOTE FOR THEM TO SEE ME: AS URGEN WELL:
NO ONE HAS CALL ME TILL TODAY I:SHOW MY SELF TO SICK CALL-ON THURSDAY 1 BECAUSE I.WAS IN REALLY PAIN
AND NURSE CLAIN TALK TO ME.AND PRESCRIBE ANTIBIOTIC WITH OUT EVEN. CHECK MY WOUND | COMPLAIN TO
ANOTHER NURSE AND 2 HOURS LATER HE CALL ME BACK TO CLINEC AND- SAID HE FORGET TO.CHECK MY WOUND
HOW CAN HE THEN PRESCRIBE MEDICATIONS WITH OUT KNOW ANYTHING OR SEEN MY WOUND IAM ON foo
ANTIBIOTIC THAT ! READY KNOW. DONT WORK FOR ME MY PAIN ITS'‘BAD AND HAVENT HEAR NOTHING FROM: No”
-BODY

ee

TRULINCS 99877479 - SANTANA-CERANO, MARIBEL - Unit: CRW-HN cs
FROM: AW Medical oe | So
TO: 99877479 ee ca og
SUBJECT: RE:***Inmate to Staff Message*** ’ a.

DATE: 05/18/2023 02:42:02 PM ©

Inmate Santana-Cerano, Sk . ey
You were seen by PA Cates and discharged from the unit in stable condition. On 4/27/23 the nurse noted you were discharged
from PT and no further wound care orders were written. While in PT, the therapist noted the wound has remained closed and

. you-have been self-managing when the area-drains by covering. it with a dressing. Please go to sick call for additional

instruction on managing the drainage and cleaning-the area. Your provider has ordered a plastic surgery consultation. You will
be placed on call out when the appointment is scheduled. SO, ‘ : “f

C. Moore,.RN

From: ~T SANTANA-CERANO, ~IMARIBEL <99877479@inmatemessage.com>.

_ Sent: Thursday, May 18,2023 12:27PM ws 8
Subject: ***Request to Staff*** SANTANA-CERANO, MARIBEL, Reg# 99877479, CRW-F-A _

. To:.collins * . . .
Inmate’ Work Assignment: nc

i been living in nee 1 for a year and then they move me‘to borders because pt said theres nothing they can-do about my open
wound has been open for a year and im. waiting to go see surgeron out he said i need’another surgery to fix my wound but.
today they move me to. one north and i dont understand how iam going to take care of my wound there: with-no:sanitation and
thats exactly what happends.a year ago when i came here send by a judge for medical attention and they put me in one north
—--and-i-had-really infected.and_end.up-how iam righ know with nerve damage for the rest of my_life i have my attorney takeing
care because iam really scare to get worstagain © © RR re :

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